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                              THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH

    JASON ROIG, individually, and on behalf of all              PLAINTIFF’S EXPEDITED MOTION
    others similarly situated,                                  FOR PROTECTIVE ORDER AND
                                                                INCORPORATED MEMORANDUM
            Plaintiffs,                                         OF LAW IN SUPPORT

    v.                                                          Case No. 2:23-cv-00721

    ALDER HOLDINGS, LLC, a Utah limited                         Judge Tena Campbell
    liability company,

            Defendant.


            I.      INTRODUCTION AND SUMMARY OF ARGUMENT

           Defendant’s pending Motion to Dismiss and/or Strike is scheduled for hearing today. D.E. 22.

Yesterday, less than 24 hours before the hearing, the Defendant began taking brazen and calculated

retaliatory action against Raydel Mason (“Mason”) – a former Field Service Technician employee who

filed a Declaration in Support of Conditional Certification of FLSA Collective Action and a Consent to Sue

Under the FLSA in this case on February 9, 2024. See D.E. 24-1. More specifically, on February 12, 2024,

the Defendant’s CEO, Adam Schanz (“Schanz”), contacted Mason via telephone and repeatedly

demanded that Mason “drop out” of this lawsuit, or else face criminal prosecution. See Declaration of

Raydel Mason attached as Ex. A.1 Schanz then threatened to bring baseless counterclaims against

Mason if he refused to “drop out” of the lawsuit and sent Mason a previously prepared Settlement

Agreement to Mason and demanded that Mason sign the Settlement Agreement immediately. Id. When

Mason refused, Schanz offered to re-instate Mason’s employment if he would sign the Settlement

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    A declaration executed by Mason will be filed imminently.
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Agreement. Id. Still, Mason refused. Id. Defendant is clearly attempting to chill participation in this case

through its use of impermissible threats levied by its CEO. Defendant is well aware that Plaintiff is

represented by undersigned counsel. Rather than communicate through Plaintiff’s counsel, Defendant

made the calculated decision to circumvent Plaintiff’s counsel in its effort to coerce and otherwise threaten

Mason in hopes it would scare him into abandoning his FLSA claims. The undersigned has contacted

counsel for Defendant to address these very serious issues, but defense counsel has not yet responded

to undersigned’s efforts to ensure that the threatening communications cease and desist immediately.

Thus, Plaintiff files this expedited motion and respectfully requests that the Court enter an appropriate

Protective Order barring Defendant from any such further intimidating or harassing conduct effective

immediately, with regard to the Plaintiffs, opt-in Plaintiffs and any putative class members in this FLSA

collective action.

         II.     MEMORANDUM OF LAW

                a. Motion for Protective Order

        Rule 26(c) of the Federal Rules of Civil Procedure governs the issuance of protective orders:

                Upon motion by a party or by the person from whom discovery is sought…
                and for good cause shown, the court in which the action is pending… may
                make any order which justice requires to protect a party or person from
                annoyance, embarrassment, oppression, or undue burden or expense…

See Fed. R. Civ. P. 26(c).

        The Supreme Court has recognized that, “[b]ecause of the potential for abuse, a district court has

both the duty and the broad authority to exercise control over a class action and to enter appropriate

orders governing the conduct of counsel and the parties.” Gulf Oil Co. v. Bernard, 452 U.S. 89, 1010

(1981). District courts are empowered with relatively broad discretion to limit communications between

parties and putative class members. See, e.g., Kleiner v. First Nat’l Bank of Atlanata, 751 F.2d 1193,

1201-03 (11th Cir. 1985) (recognizing district court’s authority to police class member contacts and to

prohibit defendant from engaging in unsupervised, unilateral communications with plaintiff class members

to solicit exclusion requests from class); Jones v. Casey’s General Stores, 517 F.Supp.2d 1080, 1088

(S.D. Iowa 2007) (“[T]his Court has relatively broad discretion in limiting communications with putative

collective members when such communications cross the boundaries of propriety, including when the
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communications are unbalanced, misleading, or factually inaccurate”); Maddox v. Knowledge Learning

Corp., 499 F.Supp.2d 1338, 1342-43 (N.D. Ga. 2007) (observing that district courts in 216(b) actions rely

on broad case management discretion to allow pre-notice communications “while actively limiting

misleading statements in such communications”); Belt v. Emcare, Inc., 299 F.Supp.2d 664, 667 (E.D.

Tex. 2003) (“As in Rule 23 class actions, courts have the authority to govern the conduct of counsel and

parties in 216(b) collective actions”).

       Federal courts across the country have routinely exercised their discretion to restrict

communications in Section 216(b) settings, where a party has engaged in coercive behavior with respect

to prospective collective members. See, e.g., Maddox, 499 F.Supp.2d at 1344; see, also, Jones, 517

F.Supp.2d at 1089 (“[M]isleading communications with putative opt-in collective members… could easily

have the effect of tainting the entire putative class and jeopardizing this entire litigation”); Sjoblom v.

Charter Communications, LLC, 2007 WL 5314916 at *3 (W.D. Wis. 2007) (“Abusive practices that district

courts have considered sufficient to warrant a protective order include communications that coerce

prospective class members into excluding themselves from the litigation; contain false, misleading or

confusing statements; and undermine cooperation with or confidence in class counsel”); Belt, 299

F.Supp.2d at 667 (“Courts have found a need to limit communications with absent class members

where the communications were misleading, coercive, or an improper attempt to… encourage

class members not to join the suit”); Cooks v. Ovations Food Services LP, W.D. Pa. Case No. 2:23-

cv-01858-NR at D.E. 27, D.E. 33 (Dec. 19, 2023) (acknowledging scenarios where defendants improperly

discourage members of a putative FLSA collective from joining a lawsuit).

       In Cooks, the Court specifically identified the troubling scenario where a defendant employer uses

supervisors and managers to approach members of an FLSA collective and dissuade them from joining

the lawsuit and the preemptive measures necessary to protect employees in such a scenario:

               [T]he Court finds that it may be beneficial for the parties to confer as to what
               executives and managers of Defendant may say to any putative class
               members about the pending case. This may avoid the situation where an
               executive or manager – intentionally or inadvertently – dissuades an
               employee from opting in to any FLSA collective or otherwise not
               participating.

Id. citing Rood v. R&R Express, Inc., 2022 WL 1082481 at *4 (W.D. Pa. April 11, 2022).
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       To be entitled to relief from contacts by an adverse party of prospective class members, a movant

must show that: (1) a particular form of communication has occurred or is threatened to occur; and (2)

the particular form of communication at issue is abusive in that it threatens the proper functioning of the

litigation. See, e.g., Cox Nuclear Medicine v. Gold Cup Coffee Services, Inc., 214 F.R.D. 696, 697-98

(S.D. Ala. 2003).

       Here, the Defendant is already attempting to chill the FLSA rights of its Field Service Technicians.

Mason joined this case on February 9, 2024, and submitted a sworn declaration in support of Plaintiff’s

Motion for Conditional Certification of FLSA Collective Action. See D.E. 24-1; D.E. 26-2. Less than 72

hours later, the Defendant’s CEO contacted Mason via telephone and threatened criminal prosecution

unless Mason immediately dropped out of this case. Ex. A. Defendant further threatened counterclaims

against Mason, and then offered to forego the criminal prosecution and counterclaims only if Mason would

execute a prepared Settlement Agreement to waive his wage and hour claims. Ex. A. Mason refused to

sign the agreement. Id. Plaintiff easily satisfies the requirements for the Court to intervene and prohibit

Defendant from having contact with any of the Plaintiffs, opt-in Plaintiffs, or members of the putative

collective. The Court, most respectfully, should enter a protective order prohibiting Defendant from

engaging in any such conduct.

         III.   CONCLUSION

       WHEREFORE, Plaintiff, JASON ROIG, respectfully requests that the Court enter an Order: (a)

granting this Motion for Protective Order; (b) prohibiting Defendant from having any further contact or

communication concerning this lawsuit with members of the putative collective, and entering any and all

such further relief as may be deemed just and appropriate under the circumstances.

       DATED: February 13, 2024.


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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing motion was served on all individuals below via

CM/ECF on this 13th of February, 2024.

                                                 By: /s/ Jordan Richards
                                                 JORDAN RICHARDS, ESQUIRE

                                          SERVICE LIST:

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